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                                       EXHIBIT A

                                      Proposed Order




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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                                   )
    In re:                                                         )   Chapter 11
                                                                   )
    SEQUENTIAL BRANDS GROUP, INC., 1                               )   Case No. 21-11194 (JTD)
                                                                   )
                                       Debtor.                     )   (Jointly Administered)
                                                                   )   Ref. Docket No. ____


             ORDER FURTHER EXTENDING DEADLINE TO OBJECT TO CLAIMS

                   Upon consideration of the Motion for Further Extension of Deadline to Object to

Claims (the “Motion”) filed by Drivetrain LLC, in its capacity as trustee of the liquidating trust

(the “Liquidating Trustee”) for the above-captioned debtors and debtors in possession, and it

appearing that good cause exists to grant the relief requested by the Motion,

                   IT IS HEREBY ORDERED THAT:

                   1.           The Motion is GRANTED as set forth herein.

                   2.           The time period to file and serve objections to claims in these cases

(the “Claims Objection Deadline”) is extended through and including July 1, 2024, without

prejudice to the rights of the Liquidating Trustee to request further extensions of the Claims

Objection Deadline.




1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s tax identification number,
      are: Sequential Brands Group, Inc. (2789), SQBG, Inc. (9546), Sequential Licensing, Inc. (7108), William Rast
      Licensing, LLC (4304), Heeling Sports Limited (0479), Brand Matter, LLC (1258), SBG FM, LLC (8013),
      Galaxy Brands LLC (9583), The Basketball Marketing Company, Inc. (7003), American Sporting Goods
      Corporation (1696), LNT Brands LLC (3923), Joe’s Holdings LLC (3085), Gaiam Brand Holdco, LLC (1581),
      Gaiam Americas, Inc. (8894), SBG-Gaiam Holdings, LLC (8923), SBG Universe Brands, LLC (4322), and GBT
      Promotions LLC (7003). The mailing address for each Debtor is 105 E. 34th Street, #249, New York, NY 10016.
      On September 26, 2022, the Court entered an order [Docket No. 646] closing the chapter 11 cases of the Debtors
      other than Case No. 21-11194 (JTD), Sequential Brands Group, Inc.


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                   3.           All time periods set forth in this Order shall be calculated in accordance

with Bankruptcy Rule 9006(a).

                   4.           This Court shall retain jurisdiction to hear and determine all matters arising

from or related to the implementation of this Order.




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